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   5
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   6   SCOOBEEZ AND AVITUS, INC.
       dba AVITUS GROUP
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  11                        UNITED STATES DISTRICT COURT
  12         CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
  13   DE’VON WALKER, on behalf of himself         Case No.: 2:18-cv-6108 AB (RAOx)
       and others similarly situated,
  14                                               DECLARATION OF RAFAEL
                   Plaintiff,                      NENDEL-FLORES IN SUPPORT
  15                                               OF DEFENDANTS SCOOBEEZ’S
             v.                                    AND AVITUS, INC.'S MOTION
  16                                               TO COMPEL INDIVIDUAL
       SCOOBEEZ, a California Corporation;         ARBITRATION AND TO
  17   AVITUS, INC., a Montana corporation;        DISMISS OR, IN THE
       AVITUS GROUP., an unknown business          ALTERNATIVE, STAY THE
  18   entity; SCOOBEEZ, INC. CORP LA., a          PROCEEDINGS
       business entity of unknown form; and
  19   DOES 1 through 50, inclusive,               [Filed concurrently with Notice of
                                                   Motion and Motion to Compel
  20               Defendants.                     Individual Arbitration and to Dismiss
                                                   or, in the alternative, Stay The
  21                                               Proceedings; Declarations of Jodi
                                                   Milliron, Sarah Staus and Pablo
  22                                               Olvera; and [Proposed] Order]
  23
                                                   Date:     August 24, 2018
  24                                               Time:     10:00 a.m.
                                                   Location: Courtroom 7B
  25
  26                                               Complaint Filed: May 29, 2018
                                                   Trial Date:      None Set
  27
  28                                          1
            DECLARATION OF RAFAEL NENDEL-FLORES IN SUPPORT OF
         DEFENDANTS MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
          TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
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   1                  DECLARATION OF RAFAEL NENDEL-FLORES
   2
   3      I, Rafael Nendel-Flores, declare and state as follows:
   4      1.       I am an attorney at law duly licensed to practice before the Central
   5   District of California and all California State Courts.      I am a partner with
   6   LeClairRyan, LLP, attorneys of record for Defendants Scoobeez and Avitus
   7   (collectively “Defendants”).
   8      2.       This Declaration is made in support of Defendants’ Motion to
   9   Compel Contractual Arbitration.
  10      3.       On July 11, 2018, I sent an e-mail to Mr. David Yermian of David
  11   Yermian & Associates Inc., attorneys of record for Plaintiff De’Von Walker. I
  12   informed Plaintiff’s counsel that Plaintiff executed a binding and enforceable
  13   arbitration agreement and asked that Plaintiff stipulate to individual arbitration.
  14   I requested that Plaintiff’s counsel to respond by July 17, 2018. A true and
  15   correct copy of the email is attached hereto as Exhibit A.
  16      4.       On July 13, 2018, Plaintiff’s counsel replied via e-mail requesting a
  17   brief extension to respond to the demand. A true and correct copy of the e-mail
  18   is attached hereto as Exhibit A 1.
  19      5.       On July 14, 2018, I notified Plaintiff’s counsel that, due to Central
  20   District’s Local Rules, Defendants’ motion to compel arbitration needed to be
  21   filed by Friday July 20, 2018. I asked counsel to provide a response by Tuesday
  22   July 17, 2018. A true and correct copy of the e-mail is attached hereto as
  23   Exhibit A 2.
  24      6.       On July 18, 2018, Plaintiff’s counsel advised that Plaintiff would
  25   not stipulate to individual arbitration. A true and correct copy of the e-mail is
  26   attached hereto as Exhibit A 3.
  27   ///
  28   ///                                      2
            DECLARATION OF RAFAEL NENDEL-FLORES IN SUPPORT OF
         DEFENDANTS MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
          TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
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   1         I declare under penalty of perjury pursuant to the laws of the State of
   2    California and the United States of America that the foregoing is true and correct.
   3
   4         Executed on this 20th day of July, 2018 at Los Angeles, California.
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   7                                                       Rafael Nendel-Flores
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            DECLARATION OF RAFAEL NENDEL-FLORES IN SUPPORT OF
         DEFENDANTS MOTION TO COMPEL INDIVIDUAL ARBITRATION AND
          TO DISMISS OR, IN THE ALTERNATIVE, STAY THE PROCEEDINGS
